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- Case 01-01139-AMC Doc 4020-4 Filed 07/08/03 Page 1of3 Ba
IN T UNITED STATES DISTRICT cou |
FOR THE OISTRICT OF KANSAS

THE BOARD OF TRUSTEES OF : eo
SOHNSON COUNTY COnMUNITY . ae
COLLEGE, . Bg
Plaintiff, . No. 68-2021-0 eI

. . ex

Vv. - Kansas City, Kansas > (fe

a)

| NATIONAL GYPSUM COMPANY, - danuary 9, 1990

De fendant.

VOLUME T . eC
TRANSCRIPT OF TRIAL - ee

BEFORE THE HONORABLE EARL £. 0’ CONNOR 2
UNITED STATES DISTRICT JUDGE, and a jury.

APPEARANCES:

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Court Reporter:

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Doc 4020-4 Filed 07/08/03 Page 3o0f3  ——>—-
Case 01-0113 8 A Cs to any anecdotal e: Jence of personal

injury and go forth, it’s almost impossible to cule on that in
advance, but the general cule ig, of course, that you've got
to show sufficient similarity that it. would be- relevant, and
mean similarity on many factors, not just the. fact that
somebody developed something fron sone exposure without just
= you can’t be bare bones, that is what z an saying. But rt
can’t make any Teally edvance tuling on that. t412 ZI hear the
evidence. °

The defendant’s motion to exclude the testimony of
Hatfield in regard to a Sample taken during December 1989, f
am not very impressed with the defendant's argument, and ny

tentative Tuling is going to be that that evidence is. ‘Going ts
be admissible.

Any bifurcation of tréal, of course, that is denied.

Now, getting to plaintiti+s motions. First motion
has to do with hearsay newspaper articles that the defendants
may want to use in regard to an EPA employee Of == I don't
know whether he’s an expert or not, but, (again, it's very
dif4teuit for the Cours to sule in advance on that. As I
understand fron the plaintift’s response, they're saying that
this employee, fa effect, adopted these newspaper articles, or
something to that effect, so they may be admissible. I don't

know. But I can’t rule on that at this time.

The exclusion of the Cestimony of Russel} Ward, the

